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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      Case No.: 23-cv-61256-JB

 MONARCH AIR GROUP, LLC,

      Plaintiff,

 v.

 JOURNALISM DEVELOPMENT
 NETWORK, INC.,

    Defendant.
 ____________________________________/

      DEFENDANT’S MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF ITS
       OBJECTIONS TO MAGISTRATE’S REPORT AND RECOMMENDATION

          Defendant Journalism Development Network, Inc. (“JDN”) respectfully moves this Court

 for leave to file a reply brief of no more than five pages in support of JDN’s Objections to Report

 and Recommendation (ECF No. 173; the “Objections”), on or before June 30, 2025. In support

 of this Motion, JDN states:

          1.       JDN timely filed its Objections to the Magistrate’s Report and Recommendation,

 recommending denial of JDN’s Motion for Partial Judgment on the Pleadings as to Count II of

 the Complaint [ECF No. 172; the “R&R”]. In response, Plaintiff Monarch Air Group, LLC

 (“Monarch”) filed its response in opposition to JDN’s Objections [ECF No. 180; the

 “Opposition”].

          2.       The Clerk’s docket entry for Monarch’s Opposition indicated that “Replies [are]

 due by 6/23/2025.” Pursuant to S.D. Local Mag. J. R. 4(b), however, a reply is not contemplated

 or permitted. Accordingly, in an abundance of caution, JDN is requesting leave to file a limited

 reply in support of its Objections, and for a seven-day extension to do so.

          3.       In this regard, Monarch inaccurately characterizes JDN’s Objections and
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 misstates the nature of the Complaint’s allegations (and lack thereof). JDN accordingly seeks a

 brief opportunity to clarify its arguments and the Complaint’s allegations implicated in JDN’s

 Objections, which are relevant for the Court’s consideration of the R&R.

        3.      JDN currently is preparing its Motion for Summary Judgment, Statement of

 Materials Facts, and extensive supporting evidence to be filed on Monday, June 23, 2025, in

 compliance with the Court’s scheduling order [ECF No. 151]. JDN accordingly seeks additional

 time to prepare and file its reply brief, should the Court grant leave to do so.

        WHEREFORE, Defendant JDN respectfully requests that the Court grant this Motion and

 permit JDN to file a reply brief of no more than five pages in support of its Objections to the

 Magistrate’s R&R on or before June 30, 2025.

             GOOD FAITH CERTIFICATION PURSUANT TO LOCAL RULE 7.1

        Undersigned counsel certifies that she conferred with counsel for Plaintiff concerning the

 relief sought in this motion, who advised that Plaintiff opposes such relief.

                                                THOMAS & LOCICERO PL

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                                              Attorneys for Defendant Journalism
                                              Development Network, Inc.


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 18th day of June, 2025, I electronically filed the

 foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all parties and counsel of record via transmission of

 Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

 counsel or parties who are not authorized to receive electronic Notices of Electronic Filing.


                                                      /s/ Dana J. McElroy
                                                      Attorney




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